                  IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN

RONALD SCHROEDER,

     Plaintiff,

           v.                                  No. 20-cv-1066

CITY OF MUSKEGO,                               Hon. Lynn Adelman

     Defendant.

   PLAINTIFF’S REPLY IN SUPPORT OF HIS MOTION FOR LEAVE
     TO FILE HIS FIRST AMENDED COMPLAINT INSTANTER

   Plaintiff, by his attorneys, respectfully submits the following reply in support of

his motion for leave to file his First Amended Complaint instanter. In support,

Plaintiff states as follows:

                                 INTRODUCTION

   Plaintiff’s proposed first amended complaint makes two changes from his

original complaint: (1) it adds an additional legal theory under the Ex Post Facto

Clause; and (2) it adds updated information regarding Plaintiff’s living situation

and his efforts to move to Muskego. ECF 13-1 (Plaintiff’s proposed first amended

complaint). On September 8, 2021, Defendant City of Muskego responded in

opposition to granting Plaintiff leave to file his first amended complaint. ECF No.

15. The City makes three arguments for denying Plaintiff’s motion, each of which is

substantively deficient. First, the City argues that Plaintiff delayed in amending his

complaint. Second, the City argues that it would be prejudiced by granting Plaintiff

leave to file the amended complaint. And third, the City argues that leave to amend




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should be denied because Plaintiff’s ex post facto theory is “futile.” Plaintiff

addresses each in turn below.

I. Defendant’s Argument that Leave Should Be Denied Due to Delay In
   Amending his Complaint Is Unavailing

   The City’s argument that Plaintiff’s motion should be denied based on undue

delay in amending his complaint is unavailing for two main reasons.

   First, it is unclear whether Defendant is arguing that Plaintiff’s request to file

his First Amended Complaint should be denied merely due to Plaintiff’s delay in

amending his complaint or whether Defendant is arguing that leave should be

denied due to alleged prejudice that would result to Defendant from the delay.

Defendant seems to be arguing both. See Def. Br. at 4 (“Here, Plaintiff has not

thoroughly explained why this new claim was not added initially. In other words,

the plaintiff has failed to produce any evidence or argument as to why he waited so

long before filing this motion.”); see also id. at 1 (“Given that this proposed

amendment is predicated on undue delay, unfair prejudice to the defendant, futility

in the pleading…”) (distinguishing “undue delay” in amending the complaint from

“unfair prejudice” caused by the proposed amendments to the complaint).

   In fact, any argument that Plaintiff’s delay in amending his complaint is in and

of itself a basis for denying Plaintiff leave is misguided. A delay in amending a

complaint is not a basis in and of itself to deny leave to amend; there must be found

some prejudice which would result to others if leave were to be granted. See George

v. Kraft Foods Global, Inc., 641 F.3d 786, 791 (7th Cir. 2011) (“Plaintiffs point out

that delay alone is not a reason to deny a proposed amendment, and that delay



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must be coupled with some other reason, such as prejudice to the defendants. The

district court recognized this principle, however, and, in a detailed oral opinion,

explained that plaintiffs’ delay caused prejudice to both the defendants and the

court.”) (internal citation omitted). Accordingly, unless there is prejudice, the fact

that Plaintiff waited until now to amend his complaint is not a basis for denying

leave to amend. To the contrary, Fed.R.Civ.P. 15(a) provides that leave to amend

should be given “freely … when justice so requires.” Fed.R.Civ.P. 15(a); see also

Childress v. Walker, 787 F.3d 433, 441 (7th Cir. 2015) (“[W]hile a court may deny a

motion for leave to file an amended complaint, such denials are disfavored.”)

(citations omitted). As shown in Section II below, there is no prejudice here and

Defendant’s claims to the contrary are unsupportable.

   There is a second and even more compelling reason why Defendant’s argument

is unavailing. The Seventh Circuit and the Supreme Court have repeatedly held

that plaintiffs are not required to set forth in their pleadings any legal theories and

that courts should decide cases based on any legal theory supported by the facts.

Johnson v. City of Shelby, 574 U.S. 10 (2014) (“[A plaintiff] must plead facts

sufficient to show that her claim has substantive plausibility. … Having informed

the city of the factual basis for their complaint, they were required to do no more

...”); Alioto v. Town of Lisbon, 651 F.3d 715, 721 (7th Cir. 2011) (“[W]e have stated

repeatedly (and frequently) that a complaint need not plead legal theories.”); Koger

v. Dart, 950 F.3d 971, 974-975 (7th Cir. 2020) (“Complaints plead grievances, not

legal theories, and [plaintiff’s] complaint spelled out his grievance …. What rule of




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law, if any, those acts violated, was a subject to be explored in other papers, such as

motions, memoranda, and briefs.”)

   Here, Plaintiff’s original complaint spelled out his grievance—that he was

banned from residing in Muskego due to the restrictions imposed by the challenged

Ordinance. See ECF 1 at ¶12 (“Plaintiff has been told by Muskego officials that,

even if he could find a home that is not within a prohibited zone, he cannot move to

Muskego.”). Tellingly, the City does not dispute that Plaintiff’s ex post facto theory

arises from this same grievance and the same core of facts. Thus, there is no basis

for Defendant’s claim that Plaintiff unduly delayed in amending his pleadings to

add the ex post facto claim. He was not required to plead legal theories at all.

II. Defendant’s Assertions of Prejudice Are Unsupported and Meritless

   Separate from its claim that Plaintiff unduly delayed in seeking leave to amend,

the City argues that Plaintiff should be denied leave to file his First Amended

Complaint because allowing the amendment would result in “unfair prejudice” or

“undue delay.” See, e.g., Def. Br. at 4 (“Plaintiff’s Motion for Leave to Amend the

Complaint must be denied because it will result in undue delay and cause unfair

prejudice to the City of Muskego.”); see also id. at 1, 3, 5, 7. As shown below, the

claims of “prejudice” and “delay” are mere assertions. Defendant has not, and

indeed cannot, show any “undue delay” or “unfair prejudice” that would result from

Plaintiff’s being granted leave to file his amended complaint.

   First, Defendant’s claim that allowing the amendment will cause “undue delay”

fails because Defendant has already conducted discovery concerning the only new




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fact alleged in the First Amended Complaint—that is, that Plaintiff would like to

reside with his friend Sharon Squires in Muskego. See ECF 13-1 at ¶11 (“Plaintiff

currently seeks to live with his friend Sharon Squires in Muskego. Ms. Squires

owns a home at W204S8208 Pasadena Drive in Muskego. This location is also

within the Ordinance’s prohibited locations.”). Upon Plaintiff’s disclosure of Ms.

Squires as a witness, Defendant noticed Ms. Squires’ deposition and deposed her on

September 16, 2021. Thus, the claim that allowing the amendment would “delay”

anything or cause “unfair prejudice” is false.

      Second, the City’s claim of “unfair prejudice” fails because it has not identified

any different or additional discovery it wants to conduct regarding Plaintiff’s ex post

facto claim; nor does it identify any discovery it refrained from conducting based on

Plaintiff’s failure to assert the claim earlier.1 Moreover, it should be noted that the

City has not yet taken Plaintiff Schroeder’s deposition and thus will have an

opportunity to ask him questions relevant to the ex post facto theory when it does

so.

III.     Defendant’s Claims of Futility are Meritless

      The City’s final argument for denying Plaintiff leave to file his first amended

complaint is “futility.” Def. Br. at 6-7. Although futility is a basis upon which courts

can deny leave to amend, that is only “if it appears to a certainty that plaintiff



1   Defendant claims that it will suffer “unfair prejudice” because it “must completely re-
strategize” to refute an ex post facto claim. Def. Br. at 5. But, as set forth above, Plaintiff
was not required to plead legal theories at all. Therefore, as long as the City had fair notice
of the factual basis for Plaintiff’s complaint, that was all that was required to give it a fair
opportunity to prepare its defense.


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cannot state a claim.” Runnion ex re. Runnion v. Girl Scouts of Greater Chicago and

N.W. Indiana, 786 F.3d 510, 519 (7th Cir. 2015). The Seventh Circuit has instructed

that the “better practice” is to allow the amendment “regardless of how unpromising

the initial pleading appears because except in unusual circumstances it is unlikely

that the court will be able to determine conclusively on the face of a defective

pleading whether plaintiff actually can state a claim.” Id. (quoting 5A Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure §1357 (2d ed. 1990)).

Indeed, futility is rarely a proper basis for denying leave to file an amended

complaint. Runnion, 786 F.3d at 520. Futility generally arises where a pleading

would be unable to survive a motion to dismiss. Gen. Elec. Capital Corp. v. Lease

Resolution Corp., 128 F.3d 1074, 1085 (7th Cir. 1997) (when the basis for denial is

futility, the court applies Rule 12(b)(6) to determine whether the proposed amended

complaint fails to state a claim for relief).

   The City claims that the ex post facto claim is “futile” because Plaintiff’s

allegations are “conclusory” and lacking “factual allegations to support it.” Def. Br.

at 7. But in making this argument Defendant has cherry-picked one paragraph of

the complaint and disregarded the remaining allegations that provide the factual

basis for Plaintiff’ ex post facto claim. As shown below, Plaintiff has not merely

“stated a legal conclusion,” but has alleged facts that, if proven, support judgment

in his favor on his ex post facto claim.




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   A. The Amended Complaint States an Ex Post Facto Claim

   The Ex Post Facto Clause, U.S. Const. Art. I, §9, cl. 3, forbids retroactive

punishment—that is, “the imposition of punishment more severe than the

punishment assigned by law when the act to be punished occurred.” Weaver v.

Graham, 450 U.S. 24, 30 (1981). To prevail on a claim under the Ex Post Facto

Clause, a plaintiff must establish that an enactment is both retroactive and

punitive. Vasquez v. Foxx, 895 F.3d 515, 520 (7th Cir. 2018). Plaintiff’s First

Amended Complaint pleads facts that support this claim.

      1. Plaintiff Has Pled Facts Showing that the Ordinance Is Being
         Applied to Him Retroactively

   The Supreme Court has defined a “retroactive” law as one that “attaches new

legal consequences to events completed before its enactment.” Milwaukee Police

Ass’n v. City of Milwaukee, 856 F.3d 480, 483 (7th Cir. 2017) (quoting Landgraf v.

USI Film Prods., 511 U.S. 244, 269–70 (1994)).

   The City claims that Plaintiff has simply stated without factual support that the

ordinance “applies retroactively.” Def. Br. at 7. But that is not the case. The

complaint sets forth that the Ordinance classifies Plaintiff Schroeder as an

“offender” who is subject to the challenged residency restrictions because of a 2008

conviction. ECF 13-1 at ¶¶7, 8. The Ordinance, which is attached as an exhibit to

Plaintiff’s original complaint and the First Amended Complaint, shows that the

Ordinance was not enacted until May 2019, more than a decade after Plaintiff’s

conviction. ECF 1-1 at 6. Thus, Plaintiff has alleged facts showing that the

challenged Ordinance is being applied to him retroactively.



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      2. Plaintiff Has Pled Facts Showing that the Ordinance Is Punitive

   The Supreme Court has articulated several factors to assist courts in evaluating

whether a regulation imposes punishment in violation of the Ex Post Facto

Clause—namely, whether the statute (1) imposes what has been regarded in our

history and traditions as a punishment; (2) imposes an affirmative disability or

restraint; (3) promotes the traditional aims of punishment; (4) has a rational

connection to a nonpunitive purpose; or (5) is excessive with respect to that purpose.

Smith v. Doe, 538 U.S. at 97; Kennedy v. Mendoza-Martinez, 372 U.S. 144, 168-69

(1963). Plaintiff’s First Amended Complaint pleads facts that support a finding in

his favor the Smith factors.

          a. Banishment Is Regarded as a Traditional Form of Punishment

   The Supreme Court has long held that “banishment” from a community is a form

of punishment. Smith, 538 U.S. at 98. Banishment was traditionally understood as

expulsion from a community (id.), but courts have recognized that residency

restrictions that fall short of a complete ban on stepping foot in the jurisdiction may

still amount to banishment, particularly where, as here, the restrictions

functionally bar a person from establishing a residence in a community. See, e.g.,

See Doe v. Snyder, 834 F.3d 696, 701 (6th Cir. 2016); In Re Taylor, 60 Cal.4th 1019

(Cal. 2015); Hoffman et al. v. Pleasant Prairie, 249 F. Supp. 3d 951, 958 (E.D. Wis.

2017) (“As to the first factor, the Ordinance banished Plaintiffs from the Village”).

   As set forth in the First Amended Complaint, the Ordinance banishes Plaintiff

from residing in Muskego. In particular, §294-2(D) of the Ordinance has what is




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typically called an “original domicile provision,” which prohibits anyone from

establishing a residence in the City who has committed a “sexually violent offense”

who was not “domiciled in the City of Muskego at the time of the offense resulting

in the person’s most recent conviction for committing the sexually violent offense.”

ECF 13-1 at ¶2(3). Pursuant to this provision of the challenged ordinance, Plaintiff

is banned from living in Muskego because he did not live there at the time of his

conviction. Id. at ¶¶13, 14. Furthermore, even if the original domicile clause were

eliminated, the 1,250 foot exclusion zones around schools, parks, libraries, golf

courses, and other locations set forth in §294-3 of the Ordinance are so restrictive

that they “effectively amount to banishment from all habitable areas of the city.” Id.

at ¶¶2, 18. Thus, Plaintiff has alleged facts supporting his claim that the Ordinance

constitutes banishment from the community.

          b. The Ordinance Imposes Disabilities and Restraints

   Courts have repeatedly found that restrictions on where an individual can reside

constitute an affirmative restraint. For example, the Sixth Circuit found that

Michigan law imposed an “affirmative disability and restraint,” writing that

“regulation of where registrants may live, work, and loiter ... put significant

restraints on how registrants may live their lives.” Snyder at 703. Many other

courts have reached the same conclusion:

   •   Evenstad v. W. St. Paul, 306 F.Supp 3d at 1091 (local ordinance that made it
       illegal for individuals who had been convicted of certain offenses to live
       “within 1,200 feet of schools, licensed day care centers, and state licensed
       residential care or housing with services establishments” violated Ex Post
       Facto clause);




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   •   Starkey v. Oklahoma Dept. of Corrections, 305 P.3d 1004, 1023-25 (Okla.
       2013) (restriction prohibiting offenders from residing “within a two-thousand-
       foot radius” of locations such as schools, parks and daycare facilities
       “impose[d] substantial disabilities” and therefore had “a punitive effect.”);
       and

   •   Commonwealth v. Baker, 295 S.W.3d 437, 445 (Ky. 2009) (“We find it difficult
       to imagine that being prohibited from residing within certain areas does not
       qualify as an affirmative disability or restraint.”)

   Plaintiff has pled facts showing that he is banned from establishing a residence

in Muskego because he was not domiciled there at the time of his offense. ECF 13-1

at ¶¶13, 14. Thus, Plaintiff has alleged facts supporting his claim that the

Ordinance imposes affirmative disabilities and restraints.

          c. The Ordinance’s Restrictions Are Excessive in Relation to any
              Non-Punitive Purpose

   The last two factors in the Smith analysis are related. The court considers

“whether the … statute [is] rationally connected to a nonpunitive purpose and

whether its requirements [are] excessive with respect to that purpose.” Vasquez,

895 F.3d at 522 (citing Smith v. Doe, 538 U.S. at 103).

   Plaintiff has pled facts showing that the Ordinance is excessive in relation to

any non-punitive purpose in at least three ways. First, the City’s rationale for the

Ordinance is to protect children by “creating zones around places where children

regularly gather in which sex offenders are prohibited from establishing residence.”

ECF 13-1 at ¶17. Yet the Ordinance applies to Plaintiff and others who have never

been convicted of an offense involving a minor. Id. at ¶¶2(1), 8. Second, the City

imposes 1,250-foot banishment zones around locations that “are not geared towards

children,” such as “conservation areas; public boat launches; libraries; and golf



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courses.” Id. at ¶¶2(2); 18. Third, the Original Domicile provision is excessive

because it does not simply prohibit persons who have been convicted of sex offenses

from residing in places near where minors congregate, but bans them from residing

in the City altogether. Id. at ¶¶13, 14.

   For all of these reasons, the City’s argument that Plaintiff has not pled sufficient

facts to support his ex post facto claim fails and the City’s request to deny Plaintiff’s

motion for leave to amend on the basis of “futility” should be rejected.

IV. Judicial Efficiency Considerations Support Consideration of the Ex
    Post Facto Claim

   Finally, it is in interest of justice to permit Plaintiff to amend his complaint. In

particular, considerations of judicial efficiency mandate that the Court should

consider both the due process and ex post facto theories in the same case. If the ex

post facto arguments are not addressed here, Mr. Schroeder or another person who

seeks to live in Muskego most likely will bring a separate lawsuit that would

involve duplicative discovery and briefing to resolve the ex post facto questions.

Such a duplicative proceeding would waste judicial resources. See Clark v. Lacy, 376

F.3d 682, 687 (7th Cir. 2004) (identifying “preservation of judicial resources” and

avoidance of “piecemeal and duplicative litigation” as factors to be taken into

account in determining whether to stay proceedings that raise parallel issues).

   For all of the reasons set forth above and in his motion, Plaintiff respectfully

requests that this court grant his Motion for Leave to File His First Amended

Complaint Instanter.




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                                   Respectfully submitted,

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                                   /s/Adele D. Nicholas
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